      Case 5:18-cv-02242-WDK-SP Document 1 Filed 10/22/18 Page 1 of 2 Page ID #:1



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 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                   ) CASE NO : 5:18-cv-2242
11                                               )
                         Plaintiff,              )
12                                               ) COMPLAINT ON
     v.                                          ) PROMISSORY NOTE (S)
13                                               )
     JANICE MOSLEY,                              )
14                                               )
                                                 )
15                       Defendant.              )
                                                 )
16
           For its claim, Plaintiff, acting on behalf of the DEPARTMENT OF
17
     EDUCATION alleges as follow:
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           1. This court has jurisdiction under title 28 U.S.C. Section 1345 and Title 20
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     U.S.C. Section 1080, and the Defendant resides in the County of                   SAN
20
     BERNARDINO.
21
           2. In consideration of student loans guaranteed by Plaintiff, Defendant executed
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     promissory note(s), copies of which are attached hereto as Exhibit(s) “1" on the date(s)
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     set forth on said note(s).
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           3. Said note(s) and all rights to the obligations undertaken therein were
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     thereafter assigned to Plaintiff.
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           4. Defendant has defaulted in the payment of the obligations due under the said
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     note(s) according the their terms.
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     Case 5:18-cv-02242-WDK-SP Document 1 Filed 10/22/18 Page 2 of 2 Page ID #:2



 1         5. Defendant owes to Plaintiff after applying all payments and proper credits the
 2 amounts hereinafter prayed for.

 3         WHEREFORE, Plaintiff prays for judgment against Defendant as follow:
 4         1. As to Plaintiff First Claim:
 5        The principal amount of $1,597.86, plus interest accrued from the default to
 6 OCTOBER 2,1998, in the sum of $411.52 with further interest at 8% per annum

 7 accruing at $0.35 per day until entry of judgment; with interest thereafter at the legal

 8 rate plus penalties/administrative charges of $0.00.

 9         2.And upon all claims;
10         A. For cost incurred.
11         B. Reasonable attorney's fees.
12         C. For such other and further relief as to the Court seems just.
13         WHEREFORE, Plaintiff prays for judgment against Defendant in the principal
14 amount of $1,597.86 , plus interest accrued to OCTOBER 2,1998, in the sum of

15 $411.52, with interest accruing thereafter at $0.35 per day until entry of judgment;

16 with interest thereafter at the legal rate plus penalties/administrative charges of $0.00

17 and attorney’s fees, and accrued costs.

18

19 DATED: OCTOBER 22,2018                                 GOLDSMITH & HULL, A P.C.
20
                                                               /S/
21                                                 Stephen R. Goldsmith
                                                         Attorneys for Plaintiff
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